         Case 3:10-cv-00825-CFD Document 4 Filed 09/16/10 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

_____________________________________
LISA BEZIO                            )                  CASE NO.
      Plaintiff                       )                  3:10-CV-00825-CFD
                                      )
                                      )
v.                                    )
                                      )
NATIONAL RECOVERY SERVICES, LLC       )
      Defendants                      )
_____________________________________ )                  SEPTEMBER 16, 2010


                      NOTICE OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. Rule Rule 41(a)(1)(A)(i), the plaintiff, Lisa Bezio,

through her attorney, hereby gives notice that the claims of the above-entitled action

shall be dismissed with prejudice, without costs or attorney’s fees.

                                          PLAINTIFF, LISA BEZIO



                                          By: /s/Daniel S. Blinn     __________
                                             Daniel S. Blinn, Fed Bar No. ct02188
                                             Matthew W. Graeber, Fed Bar No. ct27545
                                             dblinn@consumerlawgroup.com
                                             Consumer Law Group, LLC
                                             35 Cold Spring Rd., Suite 512
                                             Rocky Hill, CT 06067
                                             Tel. (860) 571-0408
                                             Fax. (860) 571-7457
         Case 3:10-cv-00825-CFD Document 4 Filed 09/16/10 Page 2 of 2




                                     CERTIFICATION

       I hereby certify that on this 16th day of September, 2010, a copy of
foregoing Notice of Dismissal with Prejudice was filed electronically and served
by mail on anyone unable to accept electronic filing. Notice of this filing will be
sent by e-mail to all parties by operation of the Court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing. Parties may access this filing through the Court’s CM/ECF
System.

                                             /s/Daniel S. Blinn
                                             Daniel S. Blinn




                                              2
